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    6
    7
                                UNITED STATES DISTRICT COURT
    8
                              CENTRAL DISTRICT OF CALIFORNIA
    9
   10
        SECURITIES AND EXCHANGE                             CASE NO. CV 10-1689-JLS-AJW
   11   COMMISSION,
                                                           NOTICE OF MOTION AND
   12                 Plaintiff,                           MOTION OF STEPHEN J. DONELL,
                                                           PERMANENT RECEIVER,TO
   13          v.                                          APPROVE: RECEIVER'S FINAL
                                                           ACCOUNT AND REPORT AND
   14 FRANCOIS E. DURMAZ(aka                               COMPENSATION; REQUEST FOR
      MAHMUT E. DURMAZ),ROBERT C.                          COMPENSATION OF THE
   15 PRIBILSKI, USA RETIREMENT                            RECEIVER S COUNSEL AND
      MANAGEMENT SERVICES(aka USA                          ACCOUNTANT;DISCHARGE OF
   16 FINANCIAL MANAGEMENT                                 THE RECEIVER; ABANDONMENT
      SERVICES,INC.),                                      OR DESTRUCTION OF BOOKS
   17                                                      AND RECORDS; DISBURSEMENT
                Defendants.                                OF REMAINING FUNDS; AND
   18                                                      EXONERATION OF THE BOND;
           And                                             DECLARATION OF STEPHEN J.
   19                                                      DONELL IN SUPPORT THEREOF
      SIBEL INCE, MEHMET KARAKUS,
   20 MARLALI GAYRIMENKUL                                   DATE: February 9, 2018
      YATIRIMLARI, MARLALI                                  TIME: 2:30 P.M.
   21 PROPERTY INVESTMENT
      COMPANY LLC,GULEN                                     CTRM: l0A
   22 ENTERPRISES,INC.,
                                                            Hon. Josephine L. Staton
   23                  Relief Defendants.
                                                           [Pursuant to Local Rule 66-7]
   24
                                                         [Special Notice ofMotion to All Known
   25                                                    Potential Claimants Filed Concurrently
                                                         Herewith 1
   26
   27
   28
        13326.7:1673109.1
            MOTION OF STEPHEN J. DONELL,PERMANENT RECENER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARUE
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     1   TO THE HONORABLE JOSEPHINE L. STATON,UNITED STATES
     2 DISTRICT JUDGE,ALL PARTIES HEREIN,AND THEIR RESPECTIVE
     3 COUNSEL OF RECORD:
     4          PLEASE TAKE NOTICE that on February 9, 2018 at 2:30 p.m., or as soon
     5 thereafter as counsel may be heard, in Courtroom l0A ofthe above-entitled Court
     6 located at 411 West Fourth Street, Santa Ana, California, 92701, Stephen J. Donell,
     7 Permanent Receiver ("Receiver")for defendant USA Retirement Management
     8 Services(aka USA Financial Management Services, Inc.)("USA")and all entities
     9 controlled by defendants Francois E. Durmaz("Durmaz")and Robert C. Pribilski
    10 ("Pribilski"), including Marlali Property Investment Company,LLC ("Marlali"),
a
    11   and their subsidiaries and affiliates (collectively "Receivership Entities"), will and
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    12 hereby does move the Court for an order:

z   13          1.      Approving, settling and allowing the Receiver's Final Account and
w
    14 Report herein.
O
V   15          2.      Terminating the Receivership and discharging the Receiver from all
z
    16 further duties, liabilities and responsibilities.
w
    17          3.      Allowing, settling and approving the Receiver's total fees in the sum of
    18 $389,615.21 and costs in the sum of $18,752.10 through the termination of the
    19 Receivership.
    20          4.      Allowing, settling and approving the total fees and costs ofthe
    21 Receiver's counsel, Ervin Cohen &Jessup LLP ("ECJ"), through the termination of
    22 the Receivership herein in the sum of $147,687.52.
    23          5.      Allowing, settling and approving the total fees and costs of the
    24 Receiver's special counsel (retention approved pursuant to Court order under seal),
    25 through the termination of the Receivership herein in the sum of $14,665.00.
    26          6.      Allowing, settling and approving the total fees and costs ofthe
    27 Receiver's accountants, Crowe Horvath LLP ("Crowe"), through the termination of
    28 the Receivership herein in the amount of$161,843.20.
         13326.7:1673109.1                                L
             MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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      1          7.      Authorizing the Receiver to distribute the remaining funds in the
      2 Receivership Estate, to the Receiver, ECJ, special counsel, and Crowe,pro rata, in
      3 partial satisfaction oftheir approved administrative fee claims.
      4          8.     In the event that funds become available, and the Receiver and his
      5 retained professionals have been paid in full, authorizing the Receiver to distribute
      6 any funds to priority claimants 2121 Avenue ofthe Stars, LLC,and former
      7 employees ofthe Receivership Entities.
      8          9.     In the event that any payments by the Receiver to Court-approved
      9 professionals or claimants are not negotiated within ninety(90)days, authorizing the
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     10 Receiver to distribute the funds that were not negotiated to the remaining claimants
a
     11   on a pro rata basis;
w                10.     Ratifying, confirming and approving all ofthe Receiver's acts,
     12

z    13 transactions and all of his actions, including the actions of his attorneys,
w
     14 accountants, employees and agents, as Receiver herein for the duration of the
O
V    15 Receivership as being right and proper and in the best interests ofthe Receivership
z
     16 Estate and the parties to this action.
w
     17          1 1.    Ratifying, confirming and approving all distributions for compensation
     18 and costs to the Receiver made during the Receivership.
     19          12.     Ratifying, confirming and approving all distributions for compensation
     20 and costs to ECJ made during the Receivership.
     21          13.     Ratifying, confirming and approving all distributions for compensation
     22 and costs to the Receiver's special counsel made during the Receivership.
     23          14.     Ratifying, confirming and approving all distributions for compensation
     24 and costs to Crowe made during the Receivership.
     25          15.     Releasing the Receiver and the Receivership Estate from all liability for
     26 any and all claims, demands or causes of action that may have directly or indirectly
     27 arisen from the Receivership Estate prior to, during or after the Receivership period,
     28 that were not brought before this Court before the time of hearing on the Final
          13326.7:1673109.1                                .j
              MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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       1   Account and Report.
       2          16.     Authorizing the Receiver to abandon or destroy all books and records
       3 ofthe Receivership Estate under his control.
       4          17.    Exonerating and thereby releasing from any liability whatsoever any
       5 bond heretofore filed by the Receiver and exonerating the sureties thereon.
      6           The Receiver's Motion is brought pursuant to Local Rule 66-7 and is based
       7 on this Notice of Motion; the Notice of Motion to Claimants, filed concurrently
       8 herewith and attached hereto as Exhibit "A"; the supporting declaration of Stephen
       9 J. Donell; the Receiver's Final Accounting; the records on file in this action; and
~b~
      10 such other oral and documentary evidence as may be presented at or before the time
a
      11   of hearing.
W
-~    12

z     13 DATED: December 22,2017                     ERVIN COHEN & JESSUP LLP
w
z     14
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u     15
z                                                    Bv: /s/ BYRON Z. MOLDO
      16                                                BYRON Z. MOLDO
cc
w                                                       Attorneys for Stephen J. Donell,
      17
                                                        Permanent Receiver
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           13326.7:1673109.1                                 4
                MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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       1                  MEMORANDUM OF POINTS AND AUTHORITIES

       2                                                    I.

       3                                         INTRODUCTION
       4          On March 9, 2010 this Court appointed Stephen J. Donell ("Receiver"), as
      5 Temporary Receiver for defendant USA Retirement Management Services(aka
      6 USA Financial Management Services, Inc.)("USA")and all entities controlled by
       7 ~ defendants Francois E. Durmaz("Durmaz")and Robert C. Pribilski ("Pribilski"),
       8 including Marlali Property Investment Company,LLC ("Marlali"), and their
       9 subsidiaries and affiliates (collectively "Receivership Entities"). [Docket Entry 10]
      10 On March 24, 2010 this Court entered its order ("Appointing Order") which
a
      11   confirmed the Receiver's appointment as Permanent Receiver.[Docket Entry 25].
 w    12 A true and complete copy ofthe Appointing Order is attached hereto as Exhibit"B"
--~

z     13          The Receiver was appointed upon the motion ofthe Securities and Exchange
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      14 Commission ("SEC"), which filed a complaint against the defendants alleging
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V     15 various violations ofthe Securities Act of 1933 and Securities and Exchange Act of
z
      16   1934. The defendants were accused of luring prospective individuals into a scheme
w
      17 to defraud individuals through various estate planning investment vehicles. The
      18 defendants were in fact operating a scheme that misappropriated approximately $22
      19 million through the Receivership Entities. Funds were transferred by and between
      20 the Receivership Entities, owned and controlled entities, and the individuals
      21   defendants domestically and internationally. Therefore, the Receiver was tasked
      22 with liquidating the remaining assets of the Receivership Entities and attempting to
      23 recover funds for the benefit ofthe defrauded individuals.
      24          The Appointing Order provided, among other things, that the Receiver had
      25 the full powers of an equity receiver for the Receivership Entities and for all funds,
      26 assets, premises, collateral, and other assets belonging to or in the possession or
      27 control ofthe Receivership Entities or any of them. [Docket Entry 25,Pg. 7, Sec
      28 VIII] Pursuant to the Appointing Order, this Court directed the Receiver to make
           13326.7:1673109.1                                5
               MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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       1   such payments and disbursements from the funds and assets taken into custody,
       2 control and possession or thereafter received by him, and to incur, or authorize the
       3 making of such agreements as may be necessary and advisable in discharging his
       4 duties as Permanent Receiver. [Docket Entry 25, Pg. 9, Sec VIII(F)]. As the
       5 Receiver believes that he has concluded his duties, he prepared a final account
      6 summary, attached hereto as Exhibit"C"
       7          During the course ofthe Receivership, the Receiver engaged various
       8 professionals, including the law firm ofErvin Cohen &Jessup LLP("ECJ")as
       9 general counsel; special counsel (retention approved pursuant to Court order under
~,_
      10 seal); and the accounting firm of Crowe Horvath LLP("Crowe") as forensic and tax
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      11   accountant. The Receiver investigated the defendants and Receivership Entities by
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      12 engaging in detailed document review and forensic accounting. A claims procedure

z     13 proposed by the Receiver was established by the Court to allow potential claimants
w
      14 to make claims against the funds in the Receivership Estate. Once the Receiver
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V     15 established an inventory of the assets ofthe Receivership Estate, he began
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oc    16 liquidating assets and recovering funds for distribution to investors. Throughout the
w
      17 course ofthe Receivership, the Receiver worked closely with the SEC and regularly
      18 provided status updates to this Court. Furthermore, the Receiver periodically sought
      19 further instructions and approval from this Court when necessary in the
      20 administration of the Receivership Estate.
      21          On Apri14, 2012, this Court entered a final judgment in this case against all
      22 Defendants and the case closed. [Docket Entry 105] Now that the Receiver has
      23 obtained federal and state tax clearance, the Receiver believes he has completed all
      24 of his duties assigned under the Appointing Order and the Receivership should
      25 therefore be terminated, and the Receiver discharged.
      26
      27
      28
           13326.7:1673109.1                                6
               MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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     1                                                   II.
     2                            INVESTIGATION AND INVENTORY
     3          The Receiver initially obtained documents and information regarding the
     4 defendants and Receivership Entities from the SEC. Due to the large amount of
     5   misappropriated funds and sophistication ofthe scheme operated by the defendants,
     6   it was immediately apparent that the Receiver would require the services of
     7 additional professionals in order to complete his investigation and administration of
     8 the Receivership Estate. Among the professionals retained, the Receiver employed
     9 counsel, an accounting firm, and a document recovery and imaging company in
    10 order to analyze the books and records ofthe Defendants and Receivership Entities
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N   11   acquired during the investigation.
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    12          The Receivership Entities maintained offices in Oakbrook Terrace, Illinois;

z   13 Los Angeles, California; and Irvine, California. The Receiver personally visited
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z   14 each office and informed the employees at each office that he was assuming control
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V   15 of the entity, assets, and premises pursuant to the Appointing Order. Employees at
z
    16 the offices were interviewed by the Receiver and served with a copy of the
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    17 Appointing Order. Some of the employees further assisted the Receiver by
    18 providing information about the Receivership Entities, including relinquishing
    19 books and records to the Receiver. In addition to the physical books and records,
    20 the Receiver also seized all ofthe computer hard drives of the Receivership Entities
    21   for forensic analysis.
    22          Once the Receiver recovered the books and records ofthe Receivership
    23 ~ Entities, Crowe performed a detailed forensic accounting in order to allocate the
    24 assets and funds ofthe Receivership Entities and establish the relationship between
    25 the Receivership Entities, the defendants, financial institutions and third parties.
    26 Ultimately, the Receiver determined that substantial funds were transferred through
    27   various individuals and entities, including some located in the country of Turkey.
    28 The Receiver also identified additional third parties who possessed documents and
         13326.7:1673109.1                                 /
             MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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    1 ~ records of relevance to the Receiver. Upon identifying these third parties, the
    2 Receiver focused his investigation on those third parties to determine their
    3 implication, if any, in the Defendants' scheme. The Receiver also analyzed the
    4 books and records to comprise a list of potential claimants ofthe Receivership
    5 Estate as defined by Local Rule 66-5.
    6          Following his initial investigation, on March 22, 2010,the Receiver filed his
    7 first interim report with this court that detailed such efforts. A true and complete
    8 copy of the Receiver's First Interim Report is attached hereto as Exhibit"D"
    9 [Docket Entry 22]. The Receiver was also ordered to file a status report with the
   10 Court by July 6, 2010. [Docket Entry 24] On June 28, 2010, the Receiver filed his
   11   status report with the Court, attached hereto as Exhibit "E".
   12          As the Receiver uncovered assets and funds, he compiled a detailed inventory
   13 ~ ofthe same. Once a substantially complete inventory was compiled, the Receiver
   14 proceeded to evaluate the available actions~required to liquidate the assets and
   15 recover funds for the benefit ofthe Receivership Estate. The Receiver obtained
   16 Court-approved authority on numerous occasions for the purposes of liquidation and
   17 distribution ofthe assets and funds.
   18
   19                                                   III.
   20                             RETENTION OF PROFESSIONALS
   21          Due to the complexity of the misappropriation scheme and the transfer of
   22 funds across international borders, the Receiver was required to retain various
   23 professionals to assist him in discharging his duties. As the Receiver's investigation
   24 uncovered the breadth of legal issues; investment vehicles; and funds involved in
   25 this case, he retained professionals as necessary. In each instance where
   26 professionals were retained, the Receiver applied to the Court for confirmation of
   27 said retentions. In all such applications, this Court approved the Receiver's
   28 retention of an accounting firm, general counsel and special counsel.
        13326.7:1673109.1                                ~
            MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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      1          Due to the advanced legal issues involved in this case, it was clear from the
      2 time of his appointment that the Receiver would require general legal counsel to
      3 represent him and the interests ofthe Receivership Estate in this matter. The multi-
      4 jurisdictional nature of the Defendants' scheme would require legal counsel with
      5 experience in such types of receivership matters. Moreover, the Defendants in this
     6 action had retained counsel and maintained a position adverse to the Receiver. Such
      7 noncooperation from the Defendants resulted in further litigation requiring the
      8 Receiver to retain his own counsel. The Receiver retained ECJ as his general
      9 counsel to represent him in this action and any collateral actions that arose during
     10 the course ofthe Receivership. ECJ incurred a total sum of $147,687.52 in fees and
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     11   costs during the course ofthe Receivership, as reflected in the Receiver's Final
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     12 Accounting, which includes estimate fees to finalize and file this report. (Ex. C)
~-
z    13          The Receiver's initial inspection of the books and records ofthe Receivership
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     14 Entities indicated that a complex accounting was required in order to allocate funds
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V    15 ofthe Receivership Estate. Such an undertaking warranted the retention of an
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     16 accounting firm with experience in large-scale fraud schemes as occurred in this
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     17 case. The Receiver retained the national accounting firm of Crowe to carry out
     18 efforts to locate misappropriated funds and assets. Once Crowe located funds and
     19 assets, the Receiver could begin to repatriate funds into the Receivership Estate.
     20 Crowe also assumed the duty of maintaining the books and records to administer the
     21   Receivership Estate and advised the Receiver in any tax matters that arose. During
     22 the course ofthe Receivership, Crowe incurred a total sum of $161,843.20 in fees
     23 and costs, as reflected in the Receiver's Final Accounting. (Ex. C)
     24          On April 15, 2010, the Receiver filed a motion to ratify the Receiver's
     25 employment of attorneys and accountants.[Docket Entry 26] On May 6, 2010, this
     26 Court confirmed and ratified the Receiver's retention of ECJ and Crowe to serve as
     27 his general counsel and accounting firm, respectively. [Docket Entry 33]
     28
          13326.7:1673109.]                                y
              MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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      1          During the Receiver's investigation, certain confidential issues arose, which
      2 required the Receiver to retain special counsel. The nature ofthe matters warranted
      3 the filing of several sealed documents with this Court. On Apri17, 2011, the
      4 Receiver filed an ex parte application to seal certain documents filed with this
      5 ~ Court. [Docket Entry 74] On the same day this Court approved the Receiver's ex
      6 parte application and ordered certain documents to remain under seal. [Docket
      7 Entry. 76] Without disclosing any details therein beyond the publically available
      8 docket, the Receiver applied for an order authorizing the employment of special
      9 counsel on Apri17, 2011. [Docket Entry 77] On the same day, this Court approved
     10 the Receiver's retention of said special counsel. [Docket Entry 78] Special counsel
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     11   incurred a total sum of $14,665.00 in fees and costs during the course of the
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     12 Receivership, as reflected in the Receiver's Final Accounting. (Ex. C)
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     14                                                   IV.
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V    15              LIQUIDATION OF ASSETS AND CLAIMS PROCEDURE
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     16          Based on his inventory, the Receiver identified assets subject to liquidation
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     17 and located funds at various financial institutions. Pursuant to the Appointing
     18 Order, the Receiver was able to freeze numerous bank accounts that contained funds
     19 ofthe Receivership Entities. Additionally, the Receiver was able to obtain refunds
     20 from many legitimate entities that transacted business with the Defendants and
     21   Receivership Entities. Upon identifying assets subject to liquidation, the Receiver
     22 proceeded to seek the permission ofthis Court to take further action which was
     23 granted by this Court.
     24          On April 15, 2010,the Receiver filed a motion to (1)Discontinue Business
     25 Operation;(2) Vacate Premises In Century City, and Irvine, California and
     26 Oakbrook Terrace, Illinois and Reject Leases;(3)Employ Auctioneer to Sell
     27 Personal Property;(4)Return Client Files;(5) Authorize Receiver to Sell Ford E150
     28 Cargo Van;(6)Ratify Employment of Attorneys and Accountants;(7) Approve the
          13326.7:1673109.1                                IU
              MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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        1   Employment of A Property Manager; and (8) Approve Listing Agreement for Real
        2 Property. [Docket Entry 26]. The Court entered an order granting the Receiver's
        3 aforementioned motion on May 6, 2010[Docket Entry 33]. Following entry of the
        4 Court's Order, the Receiver began to wind up the Receivership Entities and
        5 liquidate the personal and real property thereof.
        6          As indicated above, on June 28, 2010, the Receiver filed his First Status
        7 Report, which provided details regarding the Receiver's liquidation efforts.(Ex. E)
        8 The Receiver discovered that a substantial amount of the misappropriated funds
        9   were transferred into the country of Turkey prior to his appointment. The Receiver
~~~
       10 retained special counsel in an attempt to investigate and recover the transferred
       11   funds. Unfortunately, despite the Receiver's best efforts, the funds could not be
W
—~     12 recovered from Turkey, and are believed to be unrecoverable by the Receiver.
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z      13          In total, the Receiver recovered $940,712.48 from several sources.(Ex. C)
 w
       14   As the Receiver marshaled funds into the Receivership Estate, he established a
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V      15 claims procedure for creditors and investors to make claims against the funds of the
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       16 Receivership Estate. On July 23, 2012, the Receiver filed a Motion to Establish a
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       17 Claims Procedure and Bar Date. [Docket Entry 40] On September 28, 2010, the
       18 Court granted the Receiver's Motion to Establish a Claims Procedure and Bar Date.
       19 [Docket Entry 49] A true and complete copy of the Order granting the Receiver's
       20 Motion to Establish a Claims Procedure and Bar Date for Filing Claims is attached
       21   hereto as Exhibit"F" Pursuant to the Court's order, the Receiver caused notice of
       22 the claims procedure to be published in the Los Angeles Daily Journal and Chicago
       23 Sun-Times for two consecutive weeks. Furthermore, the Receiver posted
       24   information regarding the claims procedure on his website and made claim forms
       25 available for download. The Court set a claims bar date ninety (90) days after the
       26 entry of its order and established procedures for objecting to claims and resolving
       27 claims disputes.
       28
            13326.7:1673109.1
                MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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       1          In accordance with the claims procedure, the Receiver compiled a database of
       2 claimants and determined whether to accept or reject individual claims. The
       3 Receiver evaluated each claim based on its documentary support; information
       4 obtained from the books and records seized at the Receivership Entities; and
       5 information derived from the Receiver's own investigation. Court intervention was
       6 not required on any claims issues.
       7
       8                                                \~~
       9                                  DISTRIBUTION OF FUNDS
      10          The majority of recovered funds have been consumed by the administration of
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      11   the Receivership Estate, including the numerous professionals required in order to
w
      12 engage in said administration. In addition to administrative expenses, there are also
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z     13 several claims that are entitled to receive priority distribution over the claims of
 w
      14 ~ defrauded individuals, as discussed in detail below. Due to the fact that substantial
O
V     15 funds were transferred to Turkey and could not be recovered, there are no funds
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      16 remaining for distribution to creditors and claimants after payment of administrative
w
      17 and priority claims.
      18          As discussed above, the majority of recovered proceeds have been consumed
      19 by the administrative fees and costs of the Receivership Estate. The Receiver
      20 incurred $389,615,21 in fees and $18,752.10 in costs. ECJ,the Receiver's general
      21   counsel incurred $147,687.52 in fees and costs; the Receiver's special counsel
      22 incurred $14,665.00 fees and costs; and Crowe, the Receiver's accounting firm
      23 incurred $161,843.20 in fees and costs.
      24          The general rule regarding payment of receivership expenses is that the:
      25         "[C]osts and expenses of a receivership, including compensation for the
      26 receiver, counsel fees, and obligations incurred by him in the discharge of his duties,
      27 constitute a first charge against the property or funds in the receivership..."
      28
           13326.7:1673109.1                                ~ 1,
               MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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          1   66 Am.Jur.2d Receivers § 281 (1973). "The Order of payment of receivership costs
          2 and expenses may be stated as follows: -- First: Payment of what is ordinarily
          3 called court costs and payment of receiver's fees and receiver's counsel fees—the
          4 above mentioned costs and fees are a first charge on the funds or property in the
          5 court's possession and control..." Ralph Ewing Clark, Clark on Receivers, § 637
          6 (3d ed. rev 1992). The Receiver and his retained professionals should therefore
          7 receive the highest priority of distribution from the funds of the Receivership Estate.
          8 This aforementioned first priority of payment is also supported by applying the
          9 bankruptcy principles provided by Local Rule 66-8, as discussed below.
_~
.~       10          In this case, in addition to the Receiver and his retained professionals, there
a
         11   exist several claims entitled to priority including thirteen employee wage claims and
N
w        12 an additional administrative claim as follows:
~.,~~
z        13         •        An administrative claim by 2121 Avenue of the Stars, LLC ("2121
 w
         14                  Avenue") in the amount of $29,243.46 is entitled to priority by
O
V        15                  stipulation and order of this Court entered on November 9, 2010.
z
         16                (Stipulation at [Docket Entry 55]; Order at [Docket Entry 58]) A true
w
         17                  and complete copy ofthe Order Approving Stipulation Permitting 2121
         18                  Avenue of the Stars, LLC to Apply Security Deposits is attached hereto
         19                  as Exhibit"G"
         20         •        Combined wage claims totaling $22,486.52 of thirteen former
         21                  employees ofthe Receivership Entities are entitled to priority pursuant
         22                  to Local Rule 66-8, as discussed below.
         23          Since the claim and priority of 2121 Avenue has already been resolved by
         24 stipulation and order of this Court, no further legal analysis is warranted. The
         25 Receiver believes the wage claims, on the other hand, are entitled to priority in
         26 distribution pursuant to Local Rule 66-8 and United States Bankruptcy Code
         27 ("Bankruptcy Code") 11 U.S.C. § 507(a)(4)(A).
         28
              13326.7:1673109.1
                  MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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  1          Local Rule 66-8 provides: "Except as otherwise ordered by the Court, a
  2 receiver shall administer the estate as nearly as possible in accordance with the
  3 practice in the administration of estates in bankruptcy." The wage claims should
  4 therefore receive treatment as if the Receivership Estate is analogous to a
  5 bankruptcy estate and the Receiver as the bankruptcy trustee, applying principles of
  6 ~ bankruptcy law. The Bankruptcy Code enumerates priorities in distribution at 11
  7 U.S.C. § 507. As applicable in this case, the first priority in distribution is to the
  8 administrative expenses ofthe Receiver [trustee](11 U.S.C. § 507(a)(1)(C)), which
  9 includes the fees and costs of his retained professionals. The Bankruptcy Code next
 10 provides second priority, as applicable in this case to "wages, salaries, or
 11   commissions, including vacation, severance, and sick leave pay earned by an
 12 individual[.]" 11 U.S.C. § 507(a)(4)(A).
 13          Thus, the fees and expenses of the Receiver and his professionals should
 14 receive first priority in distribution. Following satisfaction ofthe fees and expenses
 15 ofthe Receiver and his professionals, and in the event that funds become available,
 16 the Receiver proposes to distribute the available funds on a pro rata basis to pay the
 17 priority claims of(i) 2121 Avenue; and (ii) wages.
 18          As of December 18, 2017, a balance of $71,629.38 exists in the receivership
 19 estate. The total amount owed to the Receiver, ECJ, special counsel, and Crowe, is
 20 $145,356.19 consisting of$137,909.44 in fees and $7,446.75 in expenses.
 21   Therefore, at this time, there are insufficient funds to satisfy the fees and costs ofthe
 22 Receiver and his retained professionals. The Receiver proposes to distribute the
 23 existing funds in his possession, as follows:
 24    PROFESSIONAL FEES DUE                     EXPENSES            FEES TO BE          EXPENSES TO
                                                 DUE                 PAID                BE PAID
 25    Stephen J. Donell,
       Receiver                      70,810.49            1,366.29          32,954.98             1,366.29
 26    Ervin Cohen &
 27    Jessu LLP                     29,998.35            5,604.99           13,961.14            5,604.99
       Crowe Horvath
 28    LLP                           37,100.60              475.47           17,266.51              475.47

      13326.7:1673109.1                                14
          MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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                                                      VI.

  2                        AUTHORITY TO DISCHARGE RECEIVER
  3          A Receiver may be discharged upon his motion for approval of his final
  4 account and report after proper notice to all known claimants ofthe Receivership
  5 ~' ~ Estate. Local Rule 66-7 provides:
  6          The receiver shall give notice by mail to all parties to the action and to
             all known creditors ofthe defendant ofthe time and place for hearing
  7          of:
                   a Petitions for the payment of dividends to creditors;
  8               ~b~ Petitions for the confirmation of sales of real property and
                      personal property;.
                   c Report of-the receiver;
  9
 10
                  ~d~ Applications for instructions concerning administration ofthe
                      estate;
                   e) Applications for discharge of the receiver; and
 11               ~~ Applications for fees and expenses ofthe receiver, the attorney
                      for the receiver and any other person to aid the receiver.
 12               The provisions of L.R. 6-1 shall apply to such notice.
 13          Local Rule 6-1 provides that if mailed, the notice of motion shall be served
 14 not later than thirty-one (31) days before the date ofthe motion. In this case, the
 15 Receiver is providing his account and report, applying for discharge and payment of
 16 fees and expenses. The Receiver, by and through counsel, mailed the notice of
 17 motion to all known claimants ofthe Receivership Estate on December 22, 2017 and
 18 the hearing is set for February 9, 2018, which is in compliance with Local Rule 6-1.
 19 A true and complete copy of the Receiver's Notice of Motion to Claimants is
 20 attached hereto as Exhibit"A" The Receiver has complied with the local rules in
 21   the presentation of this motion and the Court is authorized to grant the Receiver's
 22 requested relief.
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      13326J:i673109.1                                 I~
          MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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        1                                                      VII.
        2                                              CONCLUSION
        3             The Receiver should be discharged because he has fulfilled his duties under
        4 the Appointing Order and final judgment has been entered in this case. For the
        5 aforementioned reasons, the Receiver requests that the Court approve the Receiver's
        6      final account and report and the additional relief requested herein.
        7
        8 DATED: December 22, 2017                       ERVIN COHEN & JESSUP LLP
        9
;:k
       ~~

                                                         Bv: /s/ BYRnN Z. MnLDn
~      11                                                   BYRON Z. MOLDO
                                                            Attorneys for Stephen J. Donell,
~      12
                                                            Permanent Receiver
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               13326.7:1673109.1                                 16
                   MOTION OF STEPHEN J. DONELL, PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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                                 DECLARATION OF STEPHEN J. DONELL
       2          I, Stephen J. Donell, declare:
       3          1.     On March 9, 2010, I was appointed as Temporary Receiver for
       4 defendant USA Retirement Management Services(aka USA Financial Management
       5 Services, Inc.)("USA")and all entities controlled by defendants Francois E.
       6 Durmaz("Durmaz")and Robert C. Pribilski ("Pribilski"), including Marlali
       7 Property Investment Company,LLC ("Marlali"), and their subsidiaries and affiliates
       8 (collectively "Receivership Entities").
       9          2.     On March 24, 2010 this Court entered its order ("Appointing Order")
      10 which confirmed my appointment as Permanent Receiver.
a
      11          3.     I was appointed Receiver upon the motion of the Securities and
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—~    12 Exchange Commission("SEC"), which filed a complaint against the defendants

z     13 alleging various violations of the Securities Act of 1933 and Securities and
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      14 Exchange Act of 1934. The defendants were accused of luring prospective
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V     15 individuals into a scheme to defraud individuals through various estate planning
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      16 investment vehicles. The defendants were, in fact, operating a scheme that
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      17 misappropriated approximately $22 million through the Receivership Entities.
      18 Funds were transferred by and between the Receivership Entities, owned and
      19 controlled entities, and the individuals defendants domestically and internationally.
      20 As Receiver I was tasked with liquidating the remaining assets ofthe Receivership
      21   Entities and attempting to recover funds for the benefit ofthe defrauded individuals.
      22          4.     The Appointing Order provided, among other things, that the Receiver
      23 had the full powers of an equity receiver for the Receivership Entities and for all
      24 funds, assets, premises, collateral, and other assets belonging to or in the possession
      25 or control of the Receivership Entities or any of them. Pursuant to the Appointing
      26 Order, this Court directed me to make such payments and disbursements from the
      27 funds and assets taken into custody, control and possession or thereafter received by
      28 me, and to incur, or authorize the making of such agreements as may be necessary
           13326.7:16731091                                 ~ ~]
               MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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      1   and advisable in discharging my duties as Permanent Receiver. As I believe that I
      2 have concluded my duties, I prepared this final account and report.
      3          5.     During the course ofthe Receivership, I engaged various professionals,
      4 including the law firm ofErvin Cohen &Jessup LLP("ECJ")as general counsel;
      5 special counsel (retention approved pursuant to Court order under seal); the
      6   accounting firm of Crowe Horvath LLP("Crowe") as principal forensic and tax
      7 accountant.
      8         6.      I investigated the defendants and Receivership Entities by engaging in
      9 detailed document review and forensic accounting. This Court approved the
     10 establishment of a claims procedure that I proposed to allow potential claimants to
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     11   make claims against the funds in the Receivership Estate. Once I established an
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     12 inventory ofthe assets ofthe Receivership Estate, I began to liquidate assets and

z    13 attempt to recover funds for distribution to investors. Throughout the course ofthe
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     14 Receivership, I worked closely with the SEC and regularly provided status updates
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V    15 to this Court. Furthermore,I have periodically sought further instructions and
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     16 approval from this Court when necessary during the administration of the
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     17 Receivership Estate.
     18          7.     I previously commenced the process to terminate the Receivership
     19 Estate by submitting final tax returns for the receivership estate. I also requested a
     20 prompt determination of tax liability pursuant to Internal Revenue Code("IRC")
     21   Section 6501(d) which provides, in part, that any proceeding for the collection oftax
     22 shall be begun within eighteen(18) months after written request, which is less than
     23 the standard three(3) year period.
     24          8.     I have received letters from the Internal Revenue Service and
     25 California Franchise Tax Board confirming that as Receiver I have no further
     26 liability to either agency. Therefore, I believe it is appropriate for the receivership
     27 estate to be terminated, the Receiver discharged, and to distribute the remaining
     28 funds in my possession.
          13326.7:1673109.1                                11S
              MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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        1          9.      The majority of funds that I recovered have been consumed by the
        2 administration ofthe Receivership Estate, including the numerous professionals
        3 required in order to engage in said administration. In addition to administrative
        4 expenses, I believe there are also several claims that are entitled to receive priority
        5 distribution over the claims of defrauded individuals. Due to the fact that substantial
        6 funds were transferred to Turkey and could not be recovered, there are insufficient
        7 funds at this time to fully satisfy the outstanding amounts owed to me,ECJ, special
        8 counsel, and Crowe.
        9          10.     I incurred $389,615.21 in fees and $18,752.10 in costs. ECJ, my
       10 general counsel incurred $147,687.52 in fees and costs; my special counsel incurred
       11 $14,665.00 in fees and costs; and Crowe, my accounting firm incurred $161,843.20
N
W
--~    12 in fees and costs.

z      13          1 1.    In addition to the amounts owed to me and my retained professionals,
w
       14 there exist several claims entitled to priority including thirteen employee wage
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V      15 claims and an additional administrative claim as follows:
z
       16         •        An administrative claim by 2121 Avenue of the Stars, LLC("2121
w
       17                  Avenue")in the amount of $29,243.46 that was approved by this Court
       18                  pursuant to its order entered on November 9, 2010.
       19         •        Combined wage claims totaling $22,486.52 ofthirteen former
       20                  employees ofthe Receivership Entities.
       21          12.     I am proposing that the outstanding amounts owed to me and my
       22 professionals should receive first priority in distribution. Following satisfaction of
       23 the fees and expenses of me and my professionals, and in the event that funds
       24 become available, I propose to distribute the available funds on a pro rata basis to
       ZS pay the priority claims of(i)2121 Avenue; and (ii) wages.
       26          13.     As of December 18, 2017, a balance of $71,729.38 exists in the
       27 receivership estate. The total amount owed to me, ECJ, special counsel, and Crowe,
       28 is $145,356.19. Therefore, at this time, there are insufficient funds to satisfy the
            13326.7:1673109.]                                ~ ~J
                MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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  1 ' fees and costs of me and his retained professionals. I propose to distribute the
 2 existing funds in my possession, as follows:
 3     PROFESSIONAL FEES DUE                     EXPENSES            FEES TO BE          EXPENSES TO
                                                 DUE                 PAID                BE PAID
 4     Stephen J. Donell,
       Receiver                      70,810.49            1,366.29          32,954.98             1,366.29
 5     Ervin Cohen &
 6     Jessu LLP                     29,998.35            5,604.99          13,961.14             5,604.99
       Crowe Horvath
  7    LLP                           37,100.60              475.47          17,266.51              475.47

  8
             I declare under penalty of perjury that the foregoing is true and correct.
  9
             Executed this 22nd day of December, 2017, at Los Angeles, California.
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 13
 14                                                        STEPHEN J. DONELL
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          MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER FOR ORDER APPROVING FINAL ACCOUNT AND DISCHARGE
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                                              CERTIFICATE OF SERVICE

        2   STATE OF CALIFORNIA
                                                         ss:
        3   COUNTY OF LOS ANGELES

        4          I am employed in the County of Los Angeles, State of California. I am over the age of
            eighteen(18) years and not a party to the within action. My business address is 9401 Wilshire
        5   Boulevard, Beverly Hills, California 90212-2974.

        6           On December 22, 2017, I served the document described as NOTICE OF MOTION
            AND MOTION OF STEPHEN J. DONELL,PERMANENT RECEIVER,TO APPROVE:
        7   RECEIVER'S FINAL ACCOUNT AND REPORT AND COMPENSATION; REQUEST
            FOR COMPENSATION OF THE RECEIVER'S COUNSEL AND ACCOUNTANT;
        8
            DISCHARGE OF THE RECEIVER; ABANDONMENT OR DESTRUCTION OF BOOKS
        9   AND RECORDS;DISBURSEMENT OF REMAINING FUNDS; AND EXONERATION
            OF THE BOND;DECLARATION OF STEPHEN J. DONELL IN SUPPORT THEREOF
       10   on counsel for the parties in this action, or on the parties in pro~ria persona, addressed as stated on
a           the attached service list:
v'~    11
w         []      BY U.S. MAIL: By placing true and correct copies thereof in individual sealed envelopes,
       12 with postage thereon fully prepaid, which I deposited with my employer for collection and mailing
          by the United States Postal Service. I am readily familiar with my employer's practice for the
       13 collection and processing of correspondence for mailing with the United States Postal Service. In
Z
w         the ordinary course of business, this correspondence would be deposited by my employer with the
2      14 United States Postal Service on that same day. I am aware that on motion of the party served,
O
V         service is presumed invalid if postal cancellation date or postage meter date is more than one day
       15 after the date of deposit for mailing in affidavit:
Z
       16 [ ] BY NEXT-DAY DELIVERY: Via Overnite Express. I am readily familiar with my
W         employer's practice for the collection and processing of correspondence via Overnite Express. In
       17 the ordinary course of business, this correspondence would be picked up by Overnite Express on
          that same day.
       18
          [X] BY ELECTRONIC TRANSMITTAL: I caused such document to be sent via email to the
       19 following e-mail addresses:

       20   Peter Alan Davidson pdavidson@ecjlaw.com, 1pekrul@ecjlaw.com
            Mark M Hathaway mhathaway@werksmanlaw.com
       21   David J Van Havermaat marcelom@sec.gov, larofiling@sec.gov, vanhavermaatd@sec.gov
       22   Morgan B Ward Doran warddoranm@sec.gov
            Byron Z Moldo echeung@ecjlaw.com, pdavidson@ecjlaw.cam, bmoldo@ecjlaw.com,
       23   1pekrul@ecjlaw.com, steve.donell@jalmar.com

       24 [X]       (FEDERAL) I declare that I am employed in the office of a member of the bar of this
                    Court at whose direction the service was made.
       25
            EXECUTED on December 22, 2017, at Beverly Hills, California.
       26

       27
                                                                  /s/Teresa M. Castelli
       28                                                         Teresa M. Castelli


            IDOCS:13326.7:1026880.1
